            Case 2:11-cv-00084        Document 1339           Filed on 04/07/23 in TXSD            Page 1 of 1

                                                                                         INVOICE
                                                                               From      Public Catalyst
                                                                                         99 Wood Avenue South, Suite 301
                                                                                         Iselin, NJ 08830

                                                                                         FEIN #: XX-XXXXXXX



  Invoice ID      Texas M.D. Monitoring 22-08 Summary                     Invoice For    Texas M.D. Monitoring
  Issue Date      04/05/2023

  Due Date        05/05/2023

  Subject         Texas Monitoring Team: March 2023




All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies’
websites and other relevant, publicly-available data and information; communications with the parties; and internal work
product for the court.




Item Type        Description                                                                                        Amount

Service          PROFESSIONAL SERVICES FEES (see attached report)                                               $898,358.75




                                                                                        Amount Due            $898,358.75




                                                        Page 1 of 1
